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EXHIBIT “A”

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|N THE ClRCU|`T COURT OF THE
ELE\/ENTH JUD|C|AL C|RCUIT, |N AND
FOR l\/|iAN||-DADE COUNTY, FLOR|DA

 

 

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DEMER)<, lNc., cAsE No.; .‘. '7l Z" 32 5 4 6 cAOé

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cHRYsALls PHARMA PARTNERS, LLC, 393 AU@ 1 5 gm

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P|aintiff, DemeRx, |nc., hereinafter (“DemeRx”), by and through lts undersigned
attorneys, sues Defendant, CHRYSAL|S PHARMA PARTNERS, LLC, hereinafter
("Chrysaiis”), and states:

GENERAL FACTUAL ALLEGAT|ONS
` "1 "Thls"is' `a 'c`:`a`u"s'e"c`)"f"acti'o"n"Wh`é`r`e"`the"`aht`o`uh`t"ih'controversy/is 'i"n'e')'<'ces§ of "
$15,000.00, exclusive of interest, costs, and attorneys’ fees.

2. Plaintiff is a corporation duly organized and in good standing in the State
of F|orida.

3. Plaintiff's principal place of business ls located at 4400 Biscayne Blvd.,
Suite 580, |\/iiami, Florida 33137.

4. Defendant Chrysa|is F’harma Partners, LLC, lnc. is a limited liability
company under the laws of the State of New Jersey, With offices at 385 Route 24, Suite
iG, Chester, NJ 07930, Which entered into a contract with P|aintiff to provide certain

services

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5. This court has jurisdiction over this matter because all reports and
Deiiverab|es from Chrysaiis were to be delivered to DemeRx at its offices in l\/iiami-
Dade County, Florida.

6. On or about February 1, 2011, DemeRx and Chrysaiis entered into a Drug
Deve|op_ment Program Design and |\/ianagement Consuiting Agreement, a copy of
which is attached hereto as Exhibit A (the “Original Contract”).

7. The_ purpose of the Original Contract was to procure for DemeRx an entity
that had expertise in conducting the necessary studies and related tasks necessary to
obtain regulatory approval to begin human testing of the patented chemical
“Noribogaine” which, if ultimately approved by the appropriate regulatory authorities
would be used to treat drug-addicted subjects

8. A principal in Chrysalis, Dr. James iVicDonald, was well known by the then
president of DemeRx Dr Rudo|ph Kwan, as the result of these two individuals working
together in the development of new pharmaceutical drugs at an international
pharmaceutical company. Given the prior relationship, negotiations leading up to the
Original Contract centered on what tasks Were needed to fulfill the requirements for the
filing of an application to begin human testing with the applicable governmental
authorities The parties understood that DemeRx was relying solely upon the expertise
of Dr. i\/|cDonaid through his company, Chrysa|is, as reflected in the opening paragraph
of the Statement of Work included as `Exhibit A to the Origina| Agreement. That
paragraph provides in part that: _"Ch)ysa|is ..,Wii| propose, implementl manage, and

monitor the progress and regulatory compliance of the Precllnicai Toxicoiogy and

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ADME (Absorptlon »*Distribution, Metabo|ism, Excretion) Program for the noribogaine
Deve|opment Program)”.

9. As provided in the Origina| Contract, the actual testing and related
activities would be conducted by third party contract research organizations (CRO’s)
and experts that Would work for Chrysaiis in monitoring the CRO efforts. However, in
the end DemeRx was relying on Chrysa|is to produce the finished product This was
spelled out in paragraphs numbered “3)" and "4)" of Exhib|t A to the Origina| Contract,
which provide as foliows:

3) CPP [Chl'ysalis] assumes responsibility for monitoring the conduct and reporting

of these Studies and Reports such that the final Reports, and the data contained therein,
will conform to FDA and ICH requirements

4) CPP will prepare the overall summary of the Studies detailing the results of the
overall preelinical program (the “Surnmary”) This Sumrnary Will meet the requirements
` of an FDA IND and ICH Common Technical Document and be suitable for health

authority submission

10. _DemeRx was also concerned about completing the studies in an
expeditious manner in order to determine as early as possible the efficacy, if any, of
noribogaine for treating drug addiction and to minimize the overhead costs of DemeRx.
To this end, the parties to the Originai Contract established as a goal the "Target
Completion Date" of December 31, 2011 and provided for an incentive payment of up to

$52,050 if the De|iverab|es were produced within that timeframe and certain other

criteria were met (the “|ncentive Fee").

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11. The limited financial resources of DemeRx were also of concern and,
therefore, the incentive Fee included the requirement that the fees not exceed the
original estimate
12. The Originai Contract was subsequently modified by Amendments #1 and
#2, copies of Which are attached hereto as Exhibits B and C. Those amendments
added and/or deleted various Research Studies to be conducted under the direction
and control of Chrysaiis and noted the changes in the estimated cost differentials
13. As the December 31. 2011, Target Comp|etion date approached,
Chrysaiis representatives began to inject the need for additional compensation for work
which would extend beyond the end of 2011, and the Target completion date. There
was also a discussion about additional work beyond the original scope Chrysaiis then
began to take the position that no work would be done after December 31, 2011, even
` nonut_he original scope, unless Chrysaiis was compensated for work done after that date.
As negotiations continued and the end of 2011 nearedthedemandsfor additional
compensation intensified, as did the demand for an extension of the Target Comp|etion
Date by several months
14. Uitimateiy. the parties entered into a Third Amendment and Fourth
Amendment to the Origina| Contract, as of December 29, 2011, copies of which are
attached hereto as Exhibits D and E, respectively The Third Amendment was to cover
only those Research Studies that were covered |n the Origina| Contractl while the
Fourth Amendment covered new studies that would be required for future human triais,

which would include subjects suffering from addictions.

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15. The Third Amendment extended the Target Date to April 30, 2012;
increased the quarterly management fee to Chrysaiis from $40,000 to $65,000 for the
last quarter of 2011; added an additional $140,000 to the management fee to continue
the work through April 30, 2012; added another $86,000 projected for Vendor fees and
reduced the number of studies to reflect only those actually undertaken in addition, the
incentive Compensation Fee was increased from $52.050 to $75,000, and the
contingencies to payment were modified to require the payment if the Deiiverabies, as
defined in that Amendment, were timely submitted to DemeRx and met”... the generally
accepted guidelines for global regulatory documents of this type and shall not be
unreasonable withheid.”

16. As of the end of April 2012. Chrysaiis had delivered to DemeRx a number
of drafts cf the various research studies, but as of that date only some of such reports
were actually signed by the entity performing the studies, while another group of results
were in draft form but not signed by anyone.l in additionl as of that date not even a-
draft report had been received for the aii~important NOL Dog toxicology study, used to
determine the appropriate dosing levels for human study subjects U|timateiy, signed
reports were received (aibeit past the Target completion date) for all of the studies
except for the stability test, which is still continuing Given the lack of the stability test
on specimens, ali of the animal study reports include a qualification due to such missing
information

17. On i\/iay 1, 2012, Chrysaiis submitted an invoice to DemeRx demanding
payment of the $75,000 incentive fee. After reviewing the facts and circumstances

DemeRx determined that the De|iverab|es provided by Chrysaiis on or before April 30,

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2012 did not meet the requisite acceptance criterla, and on i\/|ay 10, 2012, DemeRx
delivered a letter to Chrysaiis setting forth the reasons, in part, as to why the payment
requirements were not met. A copy of that letter is attached hereto as Exhibit F.
COUNT l - BREACH OF CONTRACT AND DAMAGES

18. Piaintiff DemeRx reincorporates and re-a|ieges Paragraphs 1 - 17 of this
Compiaint.

19. Defendant Chrysaiis breached its contract with Piaintiff DemeRx by failing
to deliver the required work in a timely fashion and to otherwise abide by the contract

20. As a result thereof, DemeRx has been damaged by an amount far in
excess of $15,000, exclusive of costs, interest and attorney’s fees.

WHEREFORE, Piaintiff demands damages against Defendant Chrysaiis, along
with costs of this action and reasonable attorney’s fees, as Weii as such other relief as

the Court deems just and proper.

COUNT ii - RESC|SS|ON

21. Piaintiff reincorporates and re-al|eges Paragraphs 1-17 of this Compiaint.

22. Defendant refused to honor the Originai Contract between the parties and
threatened to abandon that Agreement, after having been paid most of the
compensation due to it, unless Piaintiff re-negotiated the Agreement, providing
substantial additional compensation an increased incentive fee, and a new Target
Compietion Date.

23. Had Defendant abandoned the Agreement at that point in late December

2011, without completing its tasks, Piaintiff would have been severely compromised

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financlai|y, and would have been unable to locate a new vendor to complete the studies

in a timeframe acceptable to Piaintiff.

24. As a result thereof, Piaintiff was forced to agree to the Third Amendment

to the Originai Contract.

25. Under the circumstances herein, the actions of Defendant constituted

duress to Piaintiff.
26. Accordingiy, the Third Amendment to the Originai Contract should be

rescindedl and ali monies paid thereunder by Piaintiff to Defendant should be refunded

to Piaintiffl

WHEREFORE,' Piaintiff prays for rescission of the contract, specifically the Third
Amendment to the Contract, together with damages as set-forth herein, interest thereon
from the dates of'p'ayment, costs of this action and reasonable attorney’s fees,__as weil

as such other relief as this Court deems just and proper.

Respectfuiiy. Submitted,

Greenspoon i\/iarder, P.A.

Counsei for Piaintiff

100 W. Cypress Creek Road,
Suite 700

Fort Lauderdaie, FL 33309
Te|ephone (954; 491-1120

Facsimi| (954 331~2037
By gm M€;g¢éa
l Joseph S.Gei|er ’ /

Fiorida Bar No, 292771

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'I-`his DRUG D`IEVE LOPMENT PROGRAM DESIGN AND MANAGEMENT
CONSUl.,TlNG AGREEMENT (this “Agrepnrent"), ls made and entered into as of this lsl day of
F_el)ruary, 201 l (the “isft’feoti-ve Datc'*”), by and between Deme-Rx, lnc., a corporation under thc
laws o'l" the State' of Fiorida USA with offices at 4400 Biscayne Boulevar‘d, Suite 580, Miatni, FL
33137 (the “Company”), and Chrysaiis Pirarma l’ar'tners, LLC, a limited liability Corpor'ation
under the laws of the St-ai:e of New Jcrsey with offices at 385 Route 24, Suite lG, Chestcr', NJ

07930 (“A;Lm_g”)
rNTR DUCTIQN_

Wh,ercas, the Ccnrptrny engages in the business of, among other tirings, drug discovery
and development with the objective of developing new therapeutic entities in the area ot` drug
addiction/pain nranagentent; and

ercreas the Advisci is in tire business ot` providing services to entities engaged in developing
new therapeutic drugs and tire Oompzrny desires to retain the services of the Advisor as a
consultant to tire Cornpany to assist tire Conrpany with respect to the design and management ot`
tire following specific drug development project Noribogaine (the “ rgjgc t”), all' 111 accordance
with the terms of this Agreement_ _ . b

Now, tl`rer‘et`ore, for good and valuable consideration, the receipt and sufficiency of which
' arc hereby acknowledged, tire-parties- her'eto ircreby~agreeasfollower- 1

 

l . Scrviccs.

 

(a) During the Term (as defined below) with respect to the Projcet the
A'dvis"or shall provide the services and deliverables in a timely fashion, all as set forth in tire
Statenrent or` Work _(“SOW”) attached hereto as Fg_x_-ljibitA and mc'orporated herein l)'y reference
(1espectively, tire “S'e'rvic'cs” and "‘Delivcuibies".) to or 611 behalf of the Co_nrp'rrny, devoting such
time per month as Advisor shall deem reasonably necessary to carry out the goals of this Pr_o_icct.

(l)') "Ser'vices hereunder shall be performed by Ad'vlsor over the telephone in
person at tire Company’ s 01 the Advisor’ s offices 01 such other location 01 through written
correspondence as determined by the Advisor and tire Cornpnny (the “Parti§_s”) Advisor agrees
that Dr. James MacDonaid will bc the primary person performing the S.'erviccs to he provided
directly byrne Advlsor If ire' rs no longer tire primary person, the Advisor will assign such other
person possessing similar skills and experience and who is reasonably acceptable to tire

 

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Cornpjarry». A,dclit`ior_r.al qualified personnel acting on behalf of the Advisor will also be used as
described in (`_c)' b`elow. Contract Resejnroh Organizations (CRO’s) arc necessary for the Pro_jcct.
'l`l.rc CRO’-s will be selected as defined in (c) below and such contracts will b._c directly between
the CRO and Courpany. In add_itiorr, the Pr'ojec-t is scientifically based and the SOW entails new
rcscarc'h. Therofo're, it is possible that additional Ser‘vices beyond tlr'c scope of the Scrvices
specified in the SO`W, may need to b_e performed by the Advisor in connection with the Project,
in which case tire SOW and the Advisor’s compensation would be rnodii'ied, by mutual
agreement to describe such additional Servicesr In determining the compensation to be paid to
tire Advisor in such circumstances, the Parties agree that the individual compensation rates for
the personnel performing such additional Serviccs will be the same as that used in determining
tlre.compensation due to the Advisor as set forth in Iam,e__Z_ to the SOW. l-Iowever', if the SOW is
not rnoditled, btr`t the Pr=ojcct is delayed (othcr than as a result of the Company’s failure to timely
perform its obligations) the Parties agree that the amount and timing of the compensation of the
Advisor would remain the same as that currently set forth in T able 2 o'l"the SOW.

 

(c) As reflected in the SOW, the Advisor' will engage two specific types of
personnel to develop and manage the Project: l) individuals referred to as program rnanagers,
consultants and.ind'lviclua'ls who will be r'c'sponsibl`cfor CRO oversight (.collectiveiy, “Vendor's”)
and 2) organizations With specific expertise in the necessary area to run studies necessary to
Sup_'p'er‘t the drug developrnent.eft‘orrs (‘iCR'O]’s”).

(`i) 'I` he V'ertclcr's will be selected and contracted directly by the
vAdvisor° (a‘t`ter the Cornpany has agreed to the use ofie`ach .suol`r.enti'ty_"for the
Project). 'I"he only obligation of the Company with respect to such Ve`ndors shall
be-tlre reimbursement to the Advisor of their fees in accordance with tire
' provisions'of'"Section""$(b)'beiow. "'f'hc estimated reimbursable costs for"tlres'e'
Vendor's’ services are included in tire initial estimate of the overall Project costs,

as set forth in Table 2 of the SOW (the “Estimated Pr'o']ect Costs").

(ii) Unless otherwise agreed upon by the Company, the CRO’S
contracts shall bc subject to the competitive bidding and selection process agreed
upon by the Advisor and the Company and submitted to the Cornpany’s Bo‘ard of
Dircctors, a copy of which is attaclrcd, and conducted by tire Advisor. The
Advisor has provided, as part of the Estimatcd Pro_lcct Costs, estimates of the
costs for each ofthe CRO potential contracts and agrees to use its best efforts to
solicit bids for such Scrviccs at or below such estimates The Advisor will submit
the winning bidder"s contract together with its reasons for the selection and any
comments to tire Comp.any for its review, negotiation and approval. The contracts
with these organizations will b‘e directly with the Con`rpany and the fees and
expenses will be paid directly by the Company to the C.RO’s.

(d) Uniess otherwise agreed by the Parti'es_, as it relates to the Projcct all
Vcndors and CRO’s will work under tire general supervision of, and report to, the Advisor. lt is

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expected that the Advisor will serve as the single point of control for the l’rojeet and will consult
ii'equently and closely with the Company with regard to the conduct of the .Proieclt;.

(e) The Parties each agree to assist and cooperate with the other party as may
be reasonably requested and is iii.keepiiig- with the spirit and intent of the Partles-' in achieving the
goals of the Pi‘oject as s,eti"orth herein; meeting the terms and conditions cf this Agreement; and
attempting to complete the Studies (`as defined in the SOW) and provide thc Rep'orts (as defined
in the .`SOW_) within the desired timeframes specified hcrcin. In the event there are unexpected
delays in meeting the timelines set forth in the SOW due to the breach of the Company’s
representations and warranties under Section 6 (b) below (“Compa'ny Delays”), the Parties agree
that the start dates and completion dates set forth on Table l of the SOW, as well as the Target
Comp_lction Date (as defined in the SOW) impacted by such delays will be extended for the
appropriate period by which each applicable target date has been actually impacted

2. jlfcyp} grid Terglinntion.

(a) This Agreement shall commence on the liffcctive Datc and shall continue
until the earlier of the termination ot` this Agreement, in writing, as provided below or the
completion in full oi" the Scrvices and Deliverables (the “ erm”l.

(b) The Company shall have the right to terminate this Agreemcnt without
cause at any time upon no_les_s than thirty (30) days prior written notice to the Advisor. ., In such
an event, the Advisor shall be paid for all fees and expenses owed to it and its Vendors` i."or
Sei'vlces throughthe_ effective date of the termination The Company shall hav@_ no further

_,__p`aymc'nt..o.bli_gations.for..compensation.due..the.Advisor..under.this./-.\greement.exceptasother-wise
provided in Sectlon' B(a) below regarding incentive payments

(c) Either party shall have the right to terminate this Agreement a__t any time
upon written notice to the other party of a material breach by such other party and the failure of
that other party to cure such breach within 30 days. The written notice must specify the reason(s)
for the notice and proposed termination and provide at least 30 days after receipt within which
the other party can cum that breach. I'l" the Company is the breaching palty: (i), the Advisot' Shall
be paid l"or all fees and expenses owed to it and its Vendors for services through the effective
date oi" the termination; and (ii). The Company shall have no further payment obligations for
compensation due the Advisor under this Agreement except as otherwise provided in Section
3(a) regarding incentive payments it:` the Advisor is the breaching party: (i) the Company shall
only be obligated to pay the Advisor for the incurred fees and expenses due it and its Vendors up
to the-date the breach occurt‘ed..

(d) In the event of the early termination or this Agreement, the Part_ics agree to
provide for an orderly transfer oi" the Advisor’s duties to the Company 01r its designee under any
and -al_l Vendor contracts and the transfer and return to the Company of any materials, including
Conlidential Inf`ormat'ion, in its possession or control, except that the Advisor shall have the right
to retain one copy for archival purposes only.

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(e) The provisions ot` Sections 3, 4, S, 6, and 8 of this Agreeinent shall survive
the expiration or termination o'l" this Agreement.

3. Compcnsation.

(a) The Advisor’s compensation shall consist ot` the twelve monthly cash
payments forth in Table 2 of the SOW, No additional compensation will be due the Advisor
(other than an incentive payment as described below, it` applicable and any compensation t`e_r
additional services as may have been agreed upon) if additional time after December '2011 is
required to complete the Deliverables. (unless additional overall efforts are required after the
twelve months due solely to Company Delays.). Advisor would be en't-i`tled‘i;o receive a full l$%
incentive payment of [15% of $'34'7-,000 =]'$52,050, in the event all of its Deliverables are
completed: (i) on or before the Target Completion Date; (il) Witltin the original or modified
overall budget set forth in T able 2 .of the SOW; and ('iil) the preclinical and toxicology portions
of the iND (as defined in the SOW) as originally submitted to the regulatory authority are not a
basis, in whole or in part, for the refusal by that authority `to allow the human trials to bcg_in. ln
the event that after the Advisor has satisfactorily completed the Deliverables on or before the
Target Coinple_tion-Date and within the original overall `budget, the Company elects to terminate
this Agreeinent in accordance with Seotion Z(b) above (tern‘lination for convenience) or to
withdraw its lND_. the Advisor shall receive an incentive fee of 326,0.25. If neither of the
conditions entitling the Advisor to receive the tull or incentive fee or half of the incentive fee are
met', the Company in its sole discretion, may award an incentive payment of up'to $52,050, with
the exact amount ot`the incentive payment, it` any, to be determined by the Company atter taking
into account any delays~, cost increases or other problems attributable to; (i)thc Company; ,(ii)

¢-tl-)ird-parties~~not~-under--the~control-oi»supervision-of~the-Advisor;~(iii)"the-A'dvisor,`~'V'end'ors'and"’ '
CRO's;, and (iv`) additional testing that is required

(h) The compensation for the services of Vcndors. will be billed monthly to the
Advisor and will be based upon the hourly rate basis agreed upon bythe Vendo'r and the Advisor
in the_. underlying contract; provided, howevcr-, that their fees, in the aggregate will be capped at
the estimated aggregate amounts for Vendors set forth in Tnble 2 of the SOW and in no case will
their fees exceed that estimated amount The Advisor will submit the invoices from the Vendor
to the Company for reimbursement and the Advisor agrees that it will not receive any markup
with respect to such Services performed by the Vendors.

(c) 'l` he Advisor agrees to review and approve, if appropriate, in writing, each _
such invoice as to the correct amount and appropriateness of the amounts billed. All payments to
Vendors shall be subject to review and verification by the Company that such amounts are
appropriate and consistent with the underlying agreements

(d) in addition to the t`eos pursuant to Table 2, the Company shall reimburse
the Advisor for all customary and reasonable expenses incurred or paid by the Advisor or
Vendors in connection with the performance of Services and provisioning oi" the Deliverables;
provided that any such expenses are preapproved, in writing, by the Company, such approval Wi'll

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not he unreasonably delayed or withheld Neither the Advisor nor any of its Representatlves (as
defined below) shall be entitled to any benefits coverages, or privileges under any benefit or
employee plan maintained by the Company.

(e) The Company shall pay all undisputed invoices and other payments to the
Advisor and Vendors within the later of 30 days of receipt of the invoice or 20 days following
receipt of the approval by the Advisor as described aliove, if app'licable. The Parti'es agree to
work diligently together to resolve any disputed amounts due to the Advisor or any Vendors.

4. Confid` entiality .

(a) Advisor acknowledges that in the course o'i` performing the-Servic.e and
providing the Deliverables to the Company, the Advisor cr any of its employees, Vcndors, or
their officers diree`toi's, employees, consultants and/or other agents (herei`n jointly and
individually called “Rep.resentati-ve-s”) will have access to and contact with confidential and
proprietary information cf the Company and its affiliates and will develop or learn of such
in'lbnnati_ion in the course of providing Services and De|iverab|es ('eollectlvely, ‘-‘Pr;o'prietary
lni:`ormgtl,on"`). Propri'etary lnformation shall i'n‘elude, without limitation, (i) all data, reports,

' regulatory submissions (in'cluding drafts and sections thereoi), analyses, notes, interpretations
ibrmu'.lations, processes ideas, forecasts, records, .do,cuments, agreements business plans,
developn_ient~pl,ans and information concerning the Company, its business opera`t-i_ons, vprod`u'c.ts,
processes, procedures, formulations development plans,_ product pipeline and intellectual
prop,er_ty, whether or not patentable or co.pyrightabie, which the Company may hereafter provide
orpreviously has provi'ded.to the Advisor or its Reprcsent-atives, or which the Advisor or its
Representatives receives or receives knowledge of or access to, or. develops orobtains i`rom

~' ~ ~ -~~--observation;» exam‘inatioi_i;‘testing~01"ana'lysis;at'any'time‘an`d"in"'any 'fot‘n’i”or‘iii'e'd'ia`,"\`)°v`li`etlief`ci'al',"" ` "` " ` `
written, graph_ic, machine readablc, sample form, or other tangible medla, or in information
storage and retrieval systems; (ii) all information which belongs to third parties but given to the
Company under restrictions on use and disclosurc; (ii.i) all notes, analyses, compilations, studies,
interpretations or other documents and all copies thereof prepared by A'dvisor or its
Representativos, which contain, retlect or are based upon, in whole orrin part, any of the
information which is described in the preceding clauses (i.) and (li); and (iv) the fact that Advisor
is providing Servlces and Del'lvera'bles to the Company.

(b) Advisor agrees and agrees to cause each o"l" its Representatives to have in
effect written agreements that it and they will 'not, during the Term or nat any time tlterea'iter, _i
disclose to others (except as shall be required to perform the 'Services or provide the f
Deliverablcs), or use for its or their benei'it cr the benefit ot` others, any Proprletnry Infcrmation
or inventions (as defined beiow). Upon request, iho'Advisor shall provide the Company with
copies ot` the agreements with its Represcntatives as contemplated above and in Section 5 below.

(c) in the event the Ad\'isol' needs to disclose any Proprietary lni'ormation to
potential Vendors, it shall first require that such entities enter into confidential disclosure i

r»_..._.~......,..“.,.......`.._..____._._.._.-~_. ........

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agreements which impose trpon such entities the same usc and disclosure restrictions as that
imposed upon the Ad`visor and its Reprcsontatives as set forth in this Secticn 4.

(d) Proprietary information shall not include any information which is (i)
available 't_o the public from a source other than the Advisor or any oi" its Repi'esent=atives, (ii)
released by the Company to the public or to persons who are not under a similar obligation of
confidentiality to the Company and who are not parties to this Agr'eerncnt, (l'ii) obtained by
Advisor Or any o.i" its Represcntatives from a third party not under a similar obligation of
confidentiality to the Company or independently generated without reference to any Company
Propric't`ary lnt`orma'tion, or (iv) required to be disclosed by any court process or any government
or agency or department ot` any government; providcd, the Advisor gives the Company prompt
notice of the obligation and cooperates with the Company in any attempts to limit the disclosures
ol‘.` such information

(e) Upon termination of this Agrecrnent or at any other time upon request by
the Company, the Advisor shall promptly deliver to the Company all documents and materials
embodying Proprietary lnformation in the possession or control of the Advisor or its
Repros;entatives; except that the Advisor shall have the right to r:e`tai.n one copy for archivai
purposes only. . ' ' ’

» ,_ (i) Company shall contract directly with the 'C‘RO’s with regard to a
coni:_`rdentiality agreement regarding Proprieta'ry lnt`ormation `and'/\dvisor shall not bear any
liability or responsibility f`or_ensuring the CRO’s comply With their-confidentiality agreement

5. . inventions

v All inventions, discoveries, data, technology, designs, innovations and
improvements (whether or not patentable and whether or not copyrightablc) arising out o'l:` cr in
connection with the Pro_jcct which are rnade, conceived, written, designed or developed by the
Advisor or its Representativcs in performing lthe Servlc'es or providing the Deliverablcs
hercund`c'r, solely or jointly with othcrs, and whether during normal business hours or otherwise
(“ nver]tions”), shall be the sole property of the Company. Advisor hereby assigns and agrees to
cause its Representatives to assign to the Company all inventions and any and all related patents,
copyrights trademarlcs, trade namcs, and other industrial and intellectual property rights and
applications therefor, in the United States and clsewhere, and Advisor hereby appoints and agrees
to cause its Representa_tives to appoint any officer of the Company as its or their duly authorized
aflOlfn@y to execute, file, prosecute and protect the same before any government agency, court o_r
authority Advisor hereby waives all claims to moral rights in all lnventions and agrees to cause
its Repr.csentatives to d'_o the sarn'e. Up_on the request of the Company and at the Company’s
expensc, the Advisor shall execute and cause its l{epresentatlves to execute such further
assignments, documents and other instruments as may be necessary or desirable to fully and
completely assign all Inventions to the Company and to assist the Company in applying for,
obtaining and enforcing patents or copyrights or other rights in the United States and in any
foreign country with respect to any lnvcntion.

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6. chrcsontation's and Warrantlcs
(a). Advisor represents and warrants that:

(i) It's execution of this Agreement, the performance ol." the Se'rvic'es
and the pr'ovijs"i'oning of`the D..cliverables will not cause any breaoh,_ default or violation oi"-'an_y
other employment, non-discios'ure, contidentiality, non-competition, or other agreement to. which
the Advisor or any of its Ven'dors- may be a party or otherwise bound;

(ii) Except as described in any agreements between the Advisor and
the Vcndors as contemplated hcrein, there are not now, nor will there be during the Term o“I" this
Agreement any ownership relationships or agreements, written or orai», between the Advisor or
any Vendor which could result in any such entity receiving a financial benefit from the entering
into oi` this Agreement. I-I'owever, the Company acknowledges that the Ad`visor and Vendor-s may
work on other projects for other companies and receive compensation for such worl<.

_ (iii)_ All Services will be performed in a professional and workmanlike
manner; and in full compliance with all applicable laws and regulations»;

(iv) All Dclivcrablcs will conform to the specificationscontained in the
~ S._OW and will be delivered in a timely manner, time being of the essence with respect-to lall time
dated inilestones; `
» . (v)» It has or =Will obtain written agreements ina-form reasonably
~~»aeeept-able---to~-~the- » Company -~t`rom- al l v~Vendors~ "w.h_o-~pa_rt-i_cipate'“i'n~'l ther Project" which"'impese""“ ' "
confidentiality and v,u`se obligations on personnel providing S`.er.viocs for such Ve'n'do'rs'to the same
degree as imposed upon the A'dvlsor as set forth in Section 4 above and effectively vest i`n the
Advisor any rights-which such personnel might otlierwlsc»have in__ the results of their workl and
' are adequate to. permit the Advisor to assign any such rights, to the extent covering the
Company’s intellectual property rights as set forth in Sectlon 5 above; and

(vi) lt has never been and no pcrson, corporation, partnership,
association or other entity employed or engaged by the Advisor to perform any S'crvices or
provide any Deli_vetables has ever been (A) debarred or threatened to be debat‘t'_`cd.; (B)
disqualified from participating in studies related to submissions to one or more regulatory
authorities; (C) accused or found guilty of scientific misconduct by any government agency; or
(D) indicted for a crime or otherwise engaged in conduct for which a person can be debarred
under 21 U.S.C. 335a (as amended). in the event that the Aclvi'sor or any other person assoclated
with performing any of the Services or providing any ot` the Deliverables becomes: (X) debarred;
or (Y) aware of or receives notice of the debarment of any Representativos, the Advisor agrees to
immediately notin the Company of such facts.

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(l>). Company represents and warrants tliat:

(a) lt is responsible for the timely delivery ol"Noribogtiine Al’l of sui"iicient
quality and quantity necessary to carry out the SOW based upon a mutually agreed upon delivery
schedule and API' specifications '

(l)) lt will provide Advisor with timely access to Company’s personnel and
inl_."orntat'ion; and
(o) lt will not unreasonably delay or withhold approval of contracts invoices,

or payments

 

EXCEP'|` WI.TH l{ESl?EC'l` 'l`O: ('I') THE BREACH Ol"’ PROPRIETARY lNl"`O-RMA'I`ION,
lNVENTlLON, AND OW_NERS_l-ll_P UNDER SEC"-l`-'IONS 4 AND 5 A~.B~OV'E; AND (II)' DA-MAGES
RESUL'l`ING FR'O.,M G.ROSS NBGLIGENCE, WILLFUL MI`SCONDUCT OR FRAUD B`Y ADVISOR-
RELA'[`IN`G TO SUC_H SERV[CES, lN NO EVE~NT' SHALL El'l`l~lER. PAR'|"Y BE LIABLE 110 THE
O'l"I-I-E_R'P/~\.-RTY WI-l"l-.i'I`HER A CL_/_~\IM BE IN il‘OR'l`, CONTRACT OR.OTI~IERWISE:. (i) FOR ANY
AMOlJNT l'N EXGESS OF THE 1`OTA[l PR`O!"`E_SS.lO'N/"\L l‘"-EES TO BE_ PAID BY THE COMPANY
'l`O ADV`ISOR UNDER 'l`l'lI:S CON_S'ULT|NG AGRBEMENT: O_R (2) FOR ANY L.OST PR_OF-ITS OR
CONSEQUEN'I`.IAL, »INDIRECT OR S_IMILAR DAMAGE-S‘ RELATED TO THE SERVICES OR
D`lELlVERABLB`-S .'I’O BE.'PROVIDED UNDER THIS AGR-`EEMENT, EVEN IF SUCl-l P-A"R'I`Y I-I'AS
Bl?,l?",N ADVlSED` OF il`l~ll§£'POSSlBlLl'l`Y Ol? SUC'H DAMAGES' AND NO'I"'WI'l`-l‘.{S'l`.ANDH-\l© /-\.N‘Y
FAILURE OF ESSENT!AL PURPOS\E OF ANY Lll\/il'l`l'Z-D REMEDY

--ln-- the- event-~it~ is~-determined~'l.liat~~/-\dvisor or "i ts'Ven'd_ors"'have"l"ai'led"to“pel‘l"ortn"an'yof"tl‘ié 'S'<'~El"`t`/il`c'ie`s" 't`)"i"
provide any of the Del'ivera~bles- in accordance with the terms of the applicable-.Contract,~then Advisor’s
liability to the Company with respect to such matters will be limited to an amount equal to the amount of
the fees paid to Advisorr ' - ~ " ' v '

Igd'gmgifios `

a_. 'l"ho_ Company agrees to indemnify and hold harmless the Advisor
yl'"ro'm and against any liability, loss, dnmag_e, action, claim or expense (_includin'g
reasonable titt'o_rncy"s Fees) (eollectlvel_y, “Losses”)_ lzil"lslng from any third party claim
relating to (a) the performance Oi" tli'e Se`rvices materially in accordance with the SOW
and this Agreemen't`, or, (b) the Company"s negligence or willful mi`s,concluct, in such case
save for any Losses for which the Advisor is obligated to indemnify the Company
hereunder.

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§;.,r,___ "hc Advisor agrees to indemnify and hold harmless the Company from
and against any Losses, subject to the language h_crein, arising from any third party claim relating
to (a) a failure by the Advisor to perform the Services materially in accordance with the SOW or
this Agreement, or applicable law or regulations, or, (b_) the Advisor’s willful misconduct-, in
each case save for any Losses for which the Company is obligated to indemnify the Advisor
hercunder.

\

Insgrance

'|,`.lie. Adviso’r agrees during the 'l`er-m and for two years thereafter to carry and maintain, at its own
cxpe'nso, insurance coverage of'the kind and with liability limits appropriate to the circumstances
to protect itself

8 independent gon§ra §tor Stu§us.

(a) .Advisor shall perform all services under this Agreemcnt as an
“inclepende.nt contractor" and not as an employee of the Company. '

(l)) Advi_sor is responsible for all taxes (fede"ral, state and _local).d_u_c with
respect to the compensation paid or payable pursuant to this Agreement and shall indemnify and
hold the Company and its officers and directors‘hai_'mless from and against ali such liabilities

» (c) . .E;<cept as otherwise specifically provided in this Agreemenn the Advisor

is not authorized to create any liability, obligation or responsibility, express or intp`l_ije'd, on behalf

o'i’, or in the name of, the Company or to bind the Company in any manner without the prior
written consentoftthc§(§ot»npany-a's~to-each~specitic-t-'lo<~)umentt~------vv -- - -- 1 ~

91 h_disccllancggs.

(a) Exccpt as described in Paragraph l ot` this Agreement, the Advisor may
not assign, transfer or delegate its obligations under this Agrcctnent without the express prior
written consent of`the Company, which will not be unreasonably withheld The Company may
freely assign this Agreement in its entirety to =a successor to substantially all of the business to
which this Agreemcnt relates All ot`the terms and provisions of this Agreement shall be binding
upon, and inure to the benefit of, the Company‘s successors and assigns, including any
corporation with which, or into which, the Company merges or which succeeds to its assets or
business

(b) Al| clemands, noticcs, requests, consents and other communications
required or permitted under this Agreement shall bc in writing and shall be personally delivered
or sent by reputable commercial overnight delivery service (,i'nc'ludlng .l"edcral Express and U,;S.
Postal Scrvice overnight delivery servicc) or, deposited with the U.S. Postal Scrvice mailed first
class, registered or certified mail, postage prepaid,- as set forth be.low»:

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if to the Advisor:

Chrysaiis Pharma 'l’artners, Ll,C
A_ttn-: B.ruce C_. Galton
i\/lai)agiilg D`irector
385 `R‘oute-Qll, Suite lG»
Ohester,_ N.l 07930

bga'lton@cln'ysalispharma.com
FAX: 908.-9`26~'25 75

With a copy to

Davicl A. Stcrn, Esq.
60 Washington Strcct
Morristown, NJ 07960

Q sternZ¢l@opto'nlinc.net

Ii` to the Compauy: '
Deinel`{x,.lnc
'~ Att'n: 'Dr. ‘Rit'clo.lf Kwan, Presid'ent
4'40`0` B_iscayne Blvd.
-Suit_e 580

c fliacsimile:305-405~1701
' e~inail: r`kwan@demerx.us

With a copy to
Dr. Stefan Schwabe
4400` Biscaync Blvd.
Suite 580
Miami, l"‘L 33137
l"`acsimile: 305-405-1701
e~mail: sschwabe@demerx.us

Noticcs shall be deemed given upon the earlier to occur of (i) receipt by the party to
whom such notice is directed (fax or emall. delivery shall be deemed`receipt if promptly li"<`)ll_owed
by another form of delivery provided for hereunder); (ii) on the first business day (o'the`r than a
Saturday, Sunday or legal holiday in thejurisdiction to which such notice is directed) following
the clay the same is deposited with the commercial courier if sent by commercial overnight

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delivery service; or (_iii) the rll'th clay (other than a Saturday, Sunday or legal holiday in the
jurisdiction to which such notice is directed) following deposit thereof with the U.S. l’ostal
Scrvice as aforesaid Each party, by notice duly given in accordance therewit'h, may specify a
different address for the giving of any notice hereunc_ler.

(`c) 'l`his Agreement: (i) may be executed in any number of counterparts
(ineludin'g facsimile s`ignatures), each ot‘w'hich, when executed by both parties to this Agrecinent
shall be deemed to be an original, and all oii` which counterparts together shall constitute one_and
the same instrument; (ii) shall be governed by and construed under the laws of the Staie of
Fiorida applicable to contracts made, aecepted, and performed wholly within such State, without
application of principles oi" contlicts of law; (iii) together with any attachments constitute the
entire agreement of the parties with respect to its subject matter, superseding ali prior oral and
written communications proposals, ncgotiations, representat'ions, undei_'stanclings, courses of
dealing, agreementsl contracts, and the like between the parties in such respect, except with
respect to that certain Consulting Ag_reement between the Parties dated Noventber i, 2010, which
is being modified this even date to reflect the incorporation into this Agreement oi" the monthly
fee originally provided under that Agreelnent and related ehanges; (iv) may be amended,
modified or waived in whole or in part only by a writing executed by both l’arties; (v) contains
headings only t`or convenience which headings do not form a part, and shall n_ot be used in
construction, of this Agreement; and (vi) is not intended to inure to the benefit of` any third-party
beneficiaries » . _

(d) Ad.visor acknowledges and agrees that the agreements and restrictions
contained in S`ec_tions 4, and 5 are necessary for the protection oi." the business and goodwill of the
Company and are reasonable for such purpose. Advisor acknowledges and agrees that any

_, ...,bre_ach ..oi,° .tlre_ provisions of..Sections rt,.an<l.$. may..cause~t'he Company .substantial.. and._i.r.reparable
damage for which the Company cannot be adequately compensated by monetary damages alone,
and, th_erefore, in the event of any such breach, in addition t'o such other remedies which may be
available, the Company shall have the right to seek specific performance»a_nd injunctive relief
without the necessity of proving actual clamages, . .

(e) No failure on the part o'i" either Party to exercise and n'o delay in exercising
any right hereunder shall operate as a waiver oi` such right, nor shall any single cr partial exercise
of such right preclude any other further exercise or exercise of any other right.

(f) Waiver of-any provision of this Agreement, in whole or in part, in any one
instance shall not constitute a waiver oi" any other provision in thc same inst'ance, nor any waiver
of the same provision in another instance, but each provision shall continue in full force and
e’i`i."ect with respect to any other then-existing or subsequent breach.

(g) in case one or more of the provisions of this Agreement is determined to

be invalid, i|legal, or unenforceable in' any rcspect, such provision shall be reformed to the
minimum extent necessary to cause such provision to be valid, legal, or enforceable If no such

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_ refornmtion 111 possible then such provision sl\z\!l he deemed omitted and the balance ofthe
r A-gwemem shall remain valid 111111 1,11101 1,12111)|0

IN Wl' l Nl'." SS W|~H-.".RB()F, the panies |1e1010 hu\-e executed this Agwemem as <)Ft|w day
and ycm Sct forth ubovc.

l)l?`,Ml."lRX. INC

B_, Mw/

Nume: l)1.R1)doli’sz111
"|`ill11: l’msic|enl

 

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c: lamcs S. Mncl)j<)nald Ph. |)
e:, Pr'csidcn_l,_',_

   

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Exli ibit ¢}_
S'I`ATEMEN'E Ol" WORK

Chrysaiis :l’harma Partners, LLC (CPP) will propose, i'111.ple111ent, managc, and monitor the
progress and regulatory compliance oi"the Precllnicai ’l"oxicol-ogy and`ADME (Absorption,
Disrribution, Me_tabolism, Excretion) Program for the noribogaine Devel.epment Program, This
program 'will result in, as a final delivery by CPP, En'g_lish language reports that meet P`DA and
ICH Common Techni cal Docuinent requirements l"or inclusion in the lND application and/or
equivalent outside the USA (the “Reports”). The specific studies that form the basis.of the
proposal are listed beiow. The initiation dates are suggested based 011 what might be possible but
are completely dependent 011 availability ot`suitable API, ability to place contracts at acceptable
Contract Research Organizatlon(s) (CRO’s), and availability of capacity at these desired CRO’s.
The anticipated time ll"or delivery oi" the Reports from these studies is given in the table below.
Those projected timelines are dependent on the findings in the respective studies and the possible
need to perform follow~up activities within the studies that will delay the availability ot` the
Reports. 'l`he overall objective is to have the Repor,ts available from these precllnieal activities
by 12/31/20`1 l (the “Target Completion' Date”) that support tili`ng o`fan lND.

_sEerCEs

To accomplish the tasks necessary to achieve the overall objective of drug development, the
Company is transferring some o'l"its obligations as Sponsor for the prec.linical toxicology and
ADME studies and reports to CPP, including those studies conducted by CRO(s) contracted by
thc.- Company to perform the actual studies

-~-~Serviee_s--req ui red-to-be- performedunderthis"€ontract shall inel ude"but no't‘be` 'i'l'iiiite`d"tt`)`"CPP """
undertaking the following tasks on behalf of the Company:

l) . CPP will design the preclinical program to support the initiation of human clinical studies
i`or the development ot`noribogaine globaliy. Thi s preclinical program will meet scientilic and
regulatory requirements including:
a. A1_1 overall plan for p_reclinical studies to be conducted to support the initiation of
human clinical studies as required by lCI-i and FDA(the “Studies"’).
b. Deve|opin_g specific preclinicai protocols required to perform the Studies once the
overall plan has been accepted_.

2) For each study, CPP will, identify and solicit qualified CRO`(s) to perform the Study',
evaluate the responses, submit the winning biddcr’s contract together with its reasons t"or the
selection and any comments to the Company for its review, negotiation'. and appreval. The
Advisor will also work with the Company in modifying any ot`the terms o't` the proposed contract
winch address the technical aspects ofthe S.tudy being contracted for with the CRO. The
ultimate contract will be between the Company and the CRO but CPP will be the designated
entity to act on behalf ofthc Company in monitoring and supervising the performance of the
applicable Studies and the resulting Reports to ensure compliance with GLP regulations (21 CRF

 

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l’art 58), when required, and/or other applicable FDA and lC.l-I requirements such that the results
may be relied upon to support regulatory decisions regarding noribogaine CPP will, in
performing such obligations make every effort to assure that the chosen CRO’s are operating
under GLP regulations in every respect and will use experts in preclinical studies to monitor and
assess the selection, placement, and operation of‘the.ch'osen' Studies it 'ls_ understood however_,
that no formal quality or compliance audit o,l"the chosen CR®-~will be undertaken by ;€{,PP and the
ultimate responsibility 'I"o'r full compliance with GLP regulations_rests with the testing facility

3) CPP assumes responsibility for monitoring the conduct and reporting of these Studies and
Reports such that the tinal' Reports, and the data contained tl)ercin, will conform to FDA and lCl~l
requirements v

4) CPP will prepare the overall summary of the Studies detailing the results of the overall
p_reclinical program (the “Summary”) This Surnmar~y_wiill meet the requirements of an FDA lND
and l'CI-I Comrnon ’l`e'chnical Documcnt and be suitable :i"<)r'.health authority subm'ission-.

DELIVERABLES

The Studies and associated Reports that will be required to support initiation of flrst-ln-human
studieswith noribogaine arc listed below. 'l"his Stu<ly list and target dcliveral.')le-datcs for the
associated Reports are based on an optimum studyperformance and outcome CPP will manage
the process oi`preparation oi’ l"`inal Reports in such _a way,'that the overall objective of completion

~ ot`.theI!rogram~by»~l-Z/S-]-/i-l--is--not-compromised-.---i,t-ls-'-underst'eo.d.-that~fthe-»;individual~Target""~"‘b " " '
Report Dates listed in Tablc i, may vary as part _ol" this overall management process The findings
t`rom' these Studies may require evaluation of additional end'points or the performance of
additional studies-to enable initiation of initial human studies v 'l`hese additional efforts will be
beyond the scope ot"this contract and will require additional effort on the part of'.CPP.

TABLE- ()F STUDIES AND RE].’ORTS DELIVERABLE BY Cl’l’ NECESSARY TO
SUPPORT .INI_TIA'I`ION OF CLINICAL TRIALS WITH NOR[BOGA[NE

 

 

Tnblcl
i" STUDY ESTIMATE`I) l)URATION2 TARGE'I`
sTA R',r DATE' FiNAL

REPO'R'I_`
TlMING’

Mctabo'lic April 01 One month Two months

Stability

~mouse, rat, dog,

 

 

 

 

 

 

 

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pmc|tn'|cal
tox//-\DME
studios suitable
jFot‘ incorporation
into IND

 

 

 

 

human
CY'.`P inhibition April 01 O__IJ,C month Two months '
CYP induction April 01 One month Two months
Si`n'gle dose PK - April 01 One month Threo
mt months
Singlo doso_ PK ~ April 01 One month Three
dog months
Bioanalytion| Fobrnary 01 3 months 6 months
method
development and
validation (mt,
clog, human
plasma)
Am_os test April 01 One month 3 months
Ih vitro April 01 Ono'n‘nont.h 3 months
m]cronnolons
assay
hERG assay ~ April 0"1 One month 3 months
GLP
CV safety M-ay 01 2 months 5 months
phannncology - `
dog
CNS`snfcty May 01 One month l '4 months
pltarmtlcology ~
mt

v _Rosph'atory May 01 Ono month 4111_onths `
's`at`oty' ' ' ' 1
phannaco|ogy ~
r'at `
14 dgy eDS - mt May 01 2 months 4 months
Singlo dose ~ May 01 1 month 3 months
dog
14 day eDS - May 15 2 months 4»months

_ dog `

28 day GLP tox Jnly l 4 months 5 months
~ cat
28'dny GLP tox J`tlly 15 4 months 5 months
~ dog _
S`umma\'y 01` Aug 1 3 months 3` months

......

 

 

 

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' assumption is that GLP-quaiity Al’l will _l)e available at the CR.O study site as agreed upon by
the parties

2 duration to the availability of data to enable decision making on next steps; availability ot" final
reports estimated in column 4

5 duration to the availability of final Reports suitable for incorporation into I_.N_D. This
beiive_rai)le includes the- preparation and delivery by CPP oi":the,:Suinm"ary.ooes not include CMC
portion of IND; a separate work stream Wili need to be constructedi"`or't'hi's_ effort; this effort is
not a part oif` this Contract and is the responsibility of the Company-.

OTi'-IER REPORT]NG REQUIREMEN'I`S

CPP wiii. participate in the Company’.'s weekly management meetings as appropriate and vviii
update the Company at least monthly on the progress of the Studies, including any issues

identified and their suggested resolution CPP Wili deliver to the Company any appropriate §
documents or data as part ot" thisl ongoing updating process. CPP will immediately inform the
Company of significant deviations l"rom the protocois or regulatory requirements or other issues §

requiring urgent attention that may impact the overall budget or time table.

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TableZ

ESTIMATED PROJECT COSTS 201 1

(U.S.$OOO)
.ian i"el) Mar Apr i\/lay .iun .lul Aug Se'p OetNovDec

Vendorscappcdat $135K 7 10 14 1;5 12 18 15 8 21 10 5
135 AdvisorFixe.d___at'$ZiZ.K _13 24 23 23 24 13 15 14 13 13 14 23
212
Subro_t'al for Vendors
andAc'ivisor 13 31 33 37 39 25 33 29 21 34 24 28
347

CRO's budgeth at $1.7261< and billed directly to the Company

rem noise ease budgeth ar $2,_073,000.
Pno.inc'r co oRoJNAToRS.

Company Project M»anager: Dr. Ste'fan Sehwabe

Advisor Pro_ieot Managcr: Dr. Jam_es Mac'Donaid

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AN|ENDMENT #1 TO THE CHRYSA'LIS' CONSULT|NGAGREEMENT

T-hls-.|e'tter amends Tab|e-.l of the Drug Deve|opment Program=l)'eslgn and Management Consu|tlng~
Agreemont dated February 1, 2011 between D.emeR-x,-ln_c. and C_hry'ssils P_har'ma _Partners, LLC. The
parties agree the following research study needs to be added to the TABLE OF STUD|ES AND REPORTS
Table 1 of the Agreement, to support the Noribogalne project

RESEARCH STUDY ES'T|MATED START DATE DURAT|ON EST|MATED CCS'T

Deve|opment of
Ph`otostabi|itv Assay M`ar`ch 2011‘* less than 30 days $4,000-$'5,000

*Dependent upon delivery of material

Amendment agreed to this 2"° day of March, 2011:

Stefan Schwabe, lVlD Bruce Galton

 

By:(

Chlef Operatlng Otflcer Manag`lng Dlrector

DemeRx, lnc. Chrysaiis Pharma Partners, LLC

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AMENDMENT #2 T'O THE CHRYSAL|S -CONSULT|NG AGREEIV|ENT

This letter amends Tab|e 1 of the Drug Deve|opment Program Deslgn and i\/lanagement Co‘nsultlng
Agreement dated February 1, 2011 between DemeRx, |nc. and Chrysaiis P`harma Partners, LLC, The
parties agree the following research studies need to be amended in the TABLE OF STUD|ES AND
REPORTS Table 1 of the Agreement, to support the Nor|bogaine prolect:

'RE-SEARCHF§NDY' esTiMAIE-o sTART`.D/ms DURATioN 'EsTiMATEo cost
AQQ: in-vi'tro Marn`melien o_n or before Me,y 15,_ 2011* eppro).r,. .‘10` weeks $3_8,800**
Chro mosorne Aberretion' Test (HPBL)

*‘Dependent upon delivery 01" material estimated at Z.Bg

**direct CRO costs on|y, excludes additional Chryse|is and Project ivianager fees to be subject of
separate Work Order

.D.E.L_E.T_E'nv"'@mi€t<>hudeu$a$$avMavHPOll ZOdavS $20000 , .. _,

*required 2.4 g of material

Amendment agreed to this rllth day oprril, 2011:

By:l § /,./L ~/AMM( §//Q/éW/LH\
eien$chwebe,i\/ID BruceGalton `

Chief Operating Officer l\/laneglng Dlrector

DemeR)<, lnc. Chrysaiis Pharma Partners, LLC

 

 

 

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Case 1'12-CV-23625-|\/|GC Document 1-1 Entered on FLSD Docl<et 10/04/2012 Page

 

DATED FEBRUARY l, 2011 (the “Agreement")

This Third Amendment to the Agreement effective as of the 29"’ day of December, 2011
(the “Effectivo Date”), is made by and between DemeRx, Inc. (“DemeRx”) on the one hand, and
Chrysaiis Pharma Partncrs, LLC (“Contractor") on the other hand.

‘ REC!TALS

As contemplated under the Agreement, modifications to the Agreement may be needed
to reflect results of various tests 'and other unexpected conditions and delays encountered during
the course of the work performed under the Agreement. l

The parties have now reviewed the remaining Toxicology, Drug Metabolism and
Pharmacokinetic (“TOX/DM/PK”) work that is believed to be required in order to submit the
necessary TOX/DM/PK documentation to the governing regulatory authorities for their approval 1
to permit the first in humans testing of Noribogaine and the parties_____<_i_e§_i_r_c;__.__to__.__mo_dify...the..
,,'Ag_l§§m§nl...lo._rctiect.such -work-,----thc--approximate'timetables"foi'"`condpietion of the remaining

work, and the compensation to be paid to Advisor and Vendor.
AGREEMENTS

Now therefore, based upon the above premises and other good and valuable
consideration, the parties to the Agreement agree as follows:

l. Capitaiized terms as used herein but not defined herein shall have the meaning set
forth in the Agreement

The Stetement of Work to the Agreement is hereby modified and amended as set
forth in Tabig IA attached hereto in order to provide: (i) an update of all of the
executed study contracts and or work orders; an extension for the remaining and
revised work required for the TOX/DM/FK studies in connection with the submittal
of the IND for the 'Hrst in humans trials (the “First In Humans iND”); and (ii) for the

their remaining work for the Stetcment of Work, as modified and amended, for the
First in Humans IND. Ighl§_LA reflects the actual and anticipated studies for which
the work, dcliverabies and summary reports described in the Statement of Work are to
be provided by the Advisor and its Vendors. Ighl_o__Z_A attached hereto sets forth the

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monthly payments during the period October 2011 through April 30, 2012 to the
Advisor and its Vcndors for their work under the Statcmcnt oi` W'ori<, as modified and
amended, for the First in l~lt)mans iND.-

3. The Target Complction Date as set forth in thc introductory paragraph of the
Statement of Work is hereby-extended from December 31, 201 1 to April 30, 2012.

¢4. Section 3(a) of the Agreement is hereby modified to provide that the full incentive
compensation fee of $52,050 is increased to $75*000 and the other lesser fees of
$26,025 contained in that Sccti_on are increased to $40,000. The full incentive
payment of $75,000 will be paid to the Advisor in its entirety upon acceptance
(wlthin ten (10) business days) of the 'l`c><\/DM/PK lND package if delivered to
DemeR-x on or before April 30, 2012., DemeRx’ acceptance of the Tox/DM/PK IND
package shall be based on generally accepted guidelines for global regulatory
documents of this type and shall not be unreasonably withheld The lesser fcc of
$40,000 will be paid t_c the Advisor in its entirety i'l" De_mcRx terminates the
Agrcernent for any reason other than material breach by tire Advisor.

45. Except as modified above, the Agreemcnt_ and St_atcment of Work as previously
mo.dliied, amended and/cr restated remains in full force and effect and, where
applicablc, apply to the matters set forth in this Amendment. Duc to the nature of
scientific rcscaroh, the Parties acknowledge that study results may require that the
studios be amended to include additional testing, data analysis'and evaluation and
therefore may require modifications to cost and completion dates that cannot be
forecast prospectively but, may be agreed by both Parties, to Tables lA and ZA. _

In'- Witnossetlr~Whe`reas',' each "of' the"parties' has‘ caused "this vAmon'dlrtent to" be executed 'an'd'
delivered by its duly authorized representative as of the date first above'w`rittcn.

Chrysaiis Pharma l’artncrs, LLC DemeRx, Inc.

QQ.Y%%/<> @urttt/~

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A`ttachments:

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DcmeRX Work Ordcr CONFIDEN'I`|AL l Page 2 Of' 5

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I§hl§.l&
Task Name Duratlon $tart Fin|sh Status
` NOR|BOGA|NE as of
Project Plann!ng 21 days Fr| 2/4/11 Frl 3/4/11 N°vember 15' 2011
ldent!fy & Engage Resource for 35 days Mon Frl 4/15/11
Bioana|vtlcal Assa\LDeve|opment 2/28/11
Execute Contract: Cl|ent and 0 days Tue 3/8/11 Tue 3/8/11
Resource
identify CRO Resources, Dlscuss 30 days Frl 2/18/11 Thu 3/31/11
Pro]ect and Solrc{! Quotes for
Servlces for Cllent Rev|ew .
ldentlfy & Engage Resource for 23 days Frl 2/4/11 Tue 3/8/11
Photosensltlvity Assay
Raceive SOGmg Mater|a| for Assay 0 days Tue 3/22/11 Tue 3/22/11
Development .
Deve!op Photosensltlvlty Assay 7 days Wed Thu 3/31/11
3/23[11
Subm|t O.uotes to C||ent 0 days Wed 4/6/11 Wed 4/6/11
Reoelve C|lent De'cls!on on O.uotes 0 days Thu 4/14/11 Thu 4/14/11
Engage CROl Resources or 9 days Frl 4/15/11 Wed'4/27/11
identify New Resources
|nltlate Bloanatytlcamssay 67 days Thu 6/30/11 Frl 9/30/11 De|ete Human
Deve!opment: rat, dog, human plasma Assay
plasma Development at
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ratLdo§, human _. 7 7 ' R__ecelved Az;g;zz
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Add'z ch cnh\bmon (hepawcyces) 11 days §"/‘1’;/11 Mon 8/1/11 ::‘:;l::§%';t_s
aecexve eu> Mareraal o days ;”/‘1’3/11 Mon 7/18/11 sAFc 10:2049
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lnltlate SIngle Dose PK: Dog 23 days - Tue 8/9/11 Thu 9/8/11 Draft Report
Recalved Sept. 8
DemeRx Work Order CONFIDENTIAL Pagc 3 of 5

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Task Nams l Durat|on Start F|nfsh Status
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CV Safety Phamnacoldgy~ 48 days Mon Wed _ Doslng Sept. 28
dog 9/26/11 11/30/1 1 Draft Report due
[_ NOV. 30
CNS Saféty 35 days Mon 8/1/11 Frl 9/16/13. Draft Repol"t
Pham\acology-mt Recelved $ept. 16
Resplratory Safety 27 days Wed Thu 9/15/11 Draft Report
Pharmacology- rac 8/10/11 Recelved sepc. 15
Draft Report
S|ng|e Dose Study-dog 36 days Thu 8/4/11 Thu 9/22/11 necewed Sept_ 22
_ |Vlon Draft Re art
Single Dose Study-rat 34 days 7/25/11 Thu 9/8/11 Recewedpsépt' 8
Patholo lst at ITR 28 days Frl 7/29/11 Tue 9/6/11
all samples have
Rat Braln Assay 35 days Mon 9/5/11 Frl 10/21/11 been assayed at
Agllux_
Proteln Blndlng S.tudy ` 71 days Thu 9/15/11 I:;'zz /1 1 _ study cgmpletgd '
hERG $tudy~Gl.P` 20 days 2253 4 /'1 1 Frl '1`1/18/11 study compl§§ed
Develop hERG Assay. _ 16 days 333 4 /11 m‘;:¢l/li ` study comp'eted
- l 1 Mon draft report
14 day tox rat GLP 80 days 10/3/11 Thu 1/19/12 restlm_.l/_19 Do__s_lng
` " ` ’ _ `_,draf`treport l
"{_1'4day` fox dog GtP 82 days Frl 11/4/11 Frl 2/24/?12 estlm.2/24 Dosing
` ' v , Nov. 14 _ VN__
ht|ate Ames test 36 days ;:?29/11 Mon 1/16/12 ::;hf?:::'::;'pt of
ln-vltro Mammal|an Chrom. 56 days Thu 12/8/11 Wed 2/22/12 Estlmated receipt of
Abermtlon rest lHPBL) draft rept Feb‘ 17
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Summarlze all precllnlcal data 118 days Mon Tue 3/27/12
10/17/11 _
Dellver Precllnica| Sectlons of lND 0 days Tue 4/10/12 Tue 4/10/12
DemeRx work order coNFlDENTIAL Page '4 ofs

 

 

 

 

 

 

 

 

 

 

 

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Vendor fees represent a Cap of $66,000 for the Quarter en
four months ended April 30, 2012 and may va
fees are F|xed Fees and will be paid by the 15'

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preparation cost is capped at $35,000, but may vary in amount by month.

The DemeRx shall reimburse Project Manager for direct fees and
TOX work as evidenced by invoices presented to DemeRx,

CAP amounts without DemeRx approval as stated beiow.

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ded Decem ber 31, 2011 and $86,000 for the
ry month to month within the O.uarter/period. Advisor
of the month in arrears. The lND TOX package

expenses of the Vendors and the iND
not to exceed in the aggregate the respective

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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/~D rox 2 ' y a _7.5 7.5 7.5 7.5
roeal~ 7 42 44 so 64 64 64 64
*Vendo`f't'ees for` the period January through April 2012 are estimates and should tile_cap need to

be increased in order to carry out the purposes of

DemeRx has the authority to immediately appr
t *-"~Vendoz`~s' 'sh'ould~ not ~oan'y out

" edjustment:would pertain.

DemeRx Work Order

CONFIDENTIAL

the Program or a projeot, Rudy Kwan at
ove such increase or to agree that the

that part of~th'e‘ Program“~or"'project"'to "whioh 'the' cap"

Pagc 5 of 5

 

Case 1:12-CV-23625-|\/|GC Document 1-1 Entered on FLSD Docket 10/04/2012 Page 33 of 43

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dy N|organ
From: Sandy Morgan
Sent: Thursday. August 16. 2012 1155 Pi\/l
To: Aooounting Requests
Subject: FW.' Soenned from |V|FP-04434919 08/16/2012 10:29
Atiachments: DOCOB'iS‘lZ.pdl‘

Please allocate and Finalize The attached. we are done and closing our File.

Sandy Morgan, PLS

190 w. Cypress Creek Road

Font Laudeodale, FL 333@9
Phone: (954) 491-1120 ext 2993
Fax: (954) 771~9264

sandy.morgan@gmlaw.com

----- Original Message--'-~

Fr~om: Tos-720~6mai`l [mailto:DoNotRtey@greensgoonmar‘der‘.com]
Sent: Thursday, August 16, 2012 11:29 AM

To: Sandy Mopgan

Subject: Scanned From MFP-@4434919 98/16/2012 1@:29

Scanned from MFP-@4434919.
Date: @8/16/2012 10:29 v
Pages:3 1
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to th e 29"' day of December, 2011
and , nc. (“DemeRx”) on the one hand, and
rs LLC (“Co tract r”) n the other hand.
RECITALS
As contemplated under e Agreement, modifications to gr ement y code
7 to reflect results o various tests and o er unexpected conditions and del s one red during
e course of the work perfonned under the Agreement. ` - _
e parties desire _to expand the on‘g nal studies to include monkey and additional dog
studies as well as CYP ln notion studies. : _ _ v
_» ` " AoRi"~;~is`MaNTs
Theret'oi‘e,' based p n~the ab p emise ther good and valuable
considered , di artles to th ce t greeasf ll w
l Capitaiized terms as use rein but not defined herein shall have the meaning set
orth in the Agreement
2 A new I&hl_e`m i's hereby added to the Statcment of Wor '
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previously amend th

k contained in the
o. is modification to Table l, as
ed, a s eaddlti’onal studios described in
summary reports to the Serv o a und

and associated
t b provid d er the Agreement.

3. A new lfabl§ §§ i`s hereby added to

schedul

the Statement of Work to reflect the fee payment
o for the lees described in tatement of ark attributable to the
additional work identified in a l .
4. Si‘nce these additional stu

c 'nfo on needed as a part of the

application for an als, neither th Target Compieti'on Date as

set forth in ntnoducto era a e Statement of Work r c incentive
set forth in i a e original Agreement are

Case 1:12-CV-23625-|\/|GC Document 1-1 Entered on FLSD Doci<et 10/04/2012 Page 35 of 43

5. 'E)ice'pt as modified above, the Agreement and Stateme_nt of Work as previously
modified_, amended and/or restated remains in full force and effect and-, where
applicable apply to the matters set forth in this Amendment.

ln Witn_esseth Whei‘¢aft, each of the parties has caused this Amendment 'to be executed and
delivered by its dulylauthorized representative as of thc. date first above written

 

 

Chrysaiis Ph`erma Partncrs, LLC I)cmeRx_, lnc.
By: <}>w< 2 %%_ By: ®AJVOW iQ"'/ v
N _ ' T¢;ms~,r .S". M#¢'Dow/¢zp Neine: \QMD,O if |¢w/,\vq
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Attachments: (> t..r_,\ j M W \V

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Case 1:12-CV-23625-|\/|GC Document 1-1 Entered on FLSD Doci<et 10/04/2012 Page 36 of 43

 

 

 

 

 

 

 

 

 

 

Table 15
draft report 1/23/12
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Assay Monkey P|asma $amples 28 days Thu 12/15/11 Fri 1/20/12 sample analysis
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¥et to be Scheduled at
Convuislon Studv-dog 15 days Wed 1/5/11 Tue 1/25/11 lTR p'aceh°|der
i
`\ DemeRx Work Order CONFIDENT!AL Page 3 of 4
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TA§LE Z§: (U.S. $000)

1-0¢~,¢ 1 .Nov 11»1)¢¢ 'iz-Jan iz»Feb 12_Mar 12-

Vendors* 2 4 l 5 5 5

    

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The Company shall reimburse project manager for direct fees and expenses of the vendors as evidenced
by invoices presented to the Company, not to exceed in the aggregate the cap of $26,000.

* Vendor fees for the period January through April 2012 are estimates and should the cap need to
be increased in order to carry out the purposes of the Program or a project, Rudy Kwan at
DemeRx has the authority to immediately approve such increase or to agree that the
Vendors should not carry out that part of the Program or project to which the cap
adjustment would pertain.

DemeRx Work Order CONFIDENT|AL Page 4 of 4

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v °¢% s pLAlNIFS
~Deme-Rx §
4400 B_isc'ayne Blvd., Suite 580. Min_mi. FL 331'37 § g
r. 305.405.1700 \ i-. 305.405.1701 \\ www.rr_emerx.-ua 2

Chrysaiis’Pharma Partners, LLC
Attn: Bruce C. Gaiton
385 Rt. 24, Suite lG
Chester, NJ 07930

May 10, 2012
Via Federai Express

Dear Bruce,

 

4. The $_ummary Report prepared by Chrysaiis ls inconsistent with the current draft of the dog
convuision study report .

' / / g

Dert?eRx

4400 Biacayne Blvd., Suite 580. Miami, FL 33137
T. 305.405..1700 \F. 305.405.1701 \\ www.demerx.us

in summary,_ for the reasons stated above, the Tox/DM/PK iND"package delivered to DemeRx on or
before April 30, 2012 does not meet the acceptance criteria for gi`obai regufatoty documents in support
of the |nitiation of human ciin‘icai triais.

 

Slncereiy,

15@@111,

Holger Weis ` .
COO/CFO DemeRx, lnc.
hweis@demerx,us

 

.CC: Bar/id A.Ste1r'n, Esq.
60 Wa'shtngton Stree't
Morristown, NJ 07960

.,‘ Shipment Rcceipi
MH‘”(; Address information

Sh|p to: Ship from:

Bruce C. Gaiton '- Hoigcr Weis

Chrysaiis Pharma Parmers. DemeRx, Ino.
LLC

385 S'i`ATE ROUTE 24 4400 Biscayne Blvd.
STE 10

Suite 580

CHESTBR, NJ Miami, FL

079302908 33137

US US

908-955-7052 305405|703

Shipping lnformat|on

'i`raoklng numbcr.' 793554030378
Ship dates 05/!0/2012
Estlmatod shipping oharges:

Package lnt`ormation

Scrvice type: Standard Ovetnigin

Packuge type: chE)¢ Enveiope

Numbet of packages:l

Tola| weight: 0. SOLBS

Deeiared value: S.OOUSD

Speoiai Servicos:

Pickup/Drop-otT; Drop off package at FedEx location

Biiiing information

Bili transportation to: DemeRx Destin-923
Your neference: DomeRx, Inc.

P. 0 no.:

invoice no.:

Deperimeni no.:

Tt\ank you for shipping onl|ne with Fedox ShlpManager at fsdex.oum.

Pieose Note

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Company Name:
Namex

Reference:
Ship (P/U) dates
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Sign for by:
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Dolivered to:
Service types
Packaging types
Number of piecesx
Weight:

Special~handling/Sefviéé§:n

Tracking numbers

Shipper Information
Holger Weis

DemeRx, Inc.

4400 Biscayna Blvd.
Suite 580

Miami

FL

trackingupdates©fedex.com
Friday, May ll, 2012 2:08 PM

Amy Lee

FedEx Shipment 793554030378 De|ivered

    

 

 

DemeRx, Inc.
Holger Wais

E~mail: alee@demerx.us `
____~__~*_`__
Our records indicate that the following shipment has been delivered:

May 10, 2012
May 11, 2012 2104 PM
C.MACDONALD

CHESTER, NJ
Receptionisc/Front Desk
FedEx Standard Overnight
FedEx anelope

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0.50`1§}

5eiiver Weekday
793554030378
~v“__“_*____

Reciplent Information
Bruce C. Gnlton

Chrysaiis Pharma Partners. LLC
385 sTATE ROUTE 24 STE lG
CHESTER

NJ

US

07930

Pleaso do not respond to this message. This email was sent from an unattended
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To learn more about FedEx Express, please visit our website at Eedex.com.

All weights are estimated.

Case 1:12-CV-23625-|\/|GC Document 1-1

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Shipinom Rcceipt

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Suite 580
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30540$ | 705 305/405 l 703

S|\i{)|yit\g information

'|`rnck|ng numl)or: 798384544697
ship du\o: 05/10/201'2

intimated shippingl c|un'gcs:

Pn`,,c.im'go infol'nmtion
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